THE WEITZ LAW FIRM, P.A.
                                                                           Bank of America Building
                                                                      18305 Biscayne Blvd., Suite 214
                                                                             Aventura, Florida 33160

                                       Application GRANTED. The initial conference is
                                       ADJOURNED to December 7, 2022, at 4:10 p.m. The
October 27, 2022                       conference will be telephonic and will take place on the
                                       following line: 888-363-4749; access code 558-3333. Plaintiff
VIA CM/ECF                             shall attempt to provide Defendant with actual notice of this
Honorable Judge Lorna G. Schofield     lawsuit via U.S. Mail and shall file proof of service by
United States District Court           November 4, 2022. So Ordered.
Southern District of New York
40 Foley Square - Courtroom 1106       Dated: October 28, 2022
New York, NY 10007                            New York, New York

               Re:      Norris v. Capital Brands Group NY, LLC, d/b/a Atomic Wings, et al.
                        Case 1:22-cv-07556-LGS

Dear Judge Schofield:

        The undersigned represents the Plaintiff in the above-captioned case matter. The Initial
Pretrial Conference in this matter is currently scheduled for November 2, 2022, at 4:10 p.m., in your
Honor's Courtroom. However, Defendants have not yet appeared in this matter, having been properly
served through the Secretary of State. In order to allow the parties adequate time to engage in early
settlement discussions, while affording additional time for the defendants to appear, a 30-day
adjournment of the Conference is hereby respectfully requested to a date most convenient to this
Honorable Court.

       Thank you for your consideration of this first adjournment request.

                                             Sincerely,

                                             By: /S/ B. Bradley Weitz           .
                                                B. Bradley Weitz, Esq. (BW9365)
                                                THE WEITZ LAW FIRM, P.A.
                                                Attorney for Plaintiff
                                                Bank of America Building
                                                18305 Biscayne Blvd., Suite 214
                                                Aventura, Florida 33160
                                                Telephone: (305) 949-7777
                                                Facsimile: (305) 704-3877
                                                Email: bbw@weitzfirm.com
